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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          DETROIT DIVISION


JOSEPH PATTON,
                                                  CIVIL COMPLAINT
             Plaintiff,

v.                                             CASE NO. 2:20-cv-11962

UNITED COLLECTION BUREAU,
INC.,                                         DEMAND FOR JURY TRIAL

             Defendant.


                                   COMPLAINT

        NOW comes JOSEPH PATTON (“Plaintiff”), by and through his undersigned

attorneys, complaining as to the conduct of UNITED COLLECTION BUREAU,

INC (“Defendant”), as follows:

                              NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection

Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq., and the Michigan

Occupational Code (“MOC”) under M.C.L. §339.901 et seq., for Defendant’s

unlawful conduct.

                             JURISDICTION AND VENUE

     2. This action arises under and is brought pursuant to the FDCPA. Subject

matter jurisdiction is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C.
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§§1331 and 1337, as the action arises under the laws of the United States.

Supplemental jurisdiction exists for the state law claim pursuant to 28 U.S.C. § 1367.

   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Eastern District of Michigan and a substantial portion the

events or omissions giving rise to the claims occurred within the Eastern District of

Michigan.

                                       PARTIES

   4. Plaintiff is a natural person over 18 years-of-age residing within the Eastern

District of Michigan.

   5. Defendant is a debt collection corporation with its principal place of business

located at 5620 Southwyck Blvd, Suite 206, Toledo, Ohio 43614. Defendant

regularly collects upon consumers located in the state of Michigan.

   6. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, third-party contractors,

subrogees, representatives and insurers at all times relevant to the instant action.


                        FACTS SUPPORTING CAUSES OF ACTION

   7. The instant action stems from Defendant’s attempts to collect upon a defaulted

consumer debt (“subject debt”) that Plaintiff allegedly owed.

   8. Around July 2020, Plaintiff began receiving calls to his cellular phone, (313)

XXX-2015, from Defendant.
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   9. At all times relevant to the instant action, Plaintiff was the sole operator of the

cellular phone ending in -2015.        Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   10. After receiving a voice mail message from Defendant, Plaintiff called

Defendant.

   11. Upon speaking with Defendant’s representative, Plaintiff was informed that

Defendant was seeking to collect on the subject debt.

   12. Plaintiff demanded that Defendant cease calling his cellular phone and only

send him written correspondence through the mail.

   13. Defendant willfully ignored Plaintiff’s demand and continued placing phone

calls to Plaintiff’s cellular phone.

   14. In the calls Plaintiff did not answer, Defendant would leave unauthorized pre-

recorded voice mail messages to Plaintiff.

   15. Notwithstanding this information, Defendant continued placing repeated

phone calls to Plaintiff’s cellular phone attempting to collect upon the subject debt.

   16. Plaintiff has received numerous phone calls from Defendant since asking it

to stop calling.

   17. Plaintiff further received multiple phone calls and automated voicemail

messages from Defendant on the same day, despite his previously demanding such

phone calls and contacts cease.


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   18. Frustrated and angered over Defendant’s conduct, Plaintiff spoke with his

undersigned attorneys regarding his rights, resulting in exhausting time and

resources.

   19. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   20. Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to, invasion of privacy, aggravation that accompanies

excessive collection telephone calls, emotional distress, increased usage of his

telephone services, loss of cellular phone capacity, diminished cellular phone

functionality, decreased battery life on his cellular phone, and diminished space for

data storage on his cellular phone.

    COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   21. Plaintiff repeats and realleges paragraphs 1 through 20 as though fully set

forth herein.

   22. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   23. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA,

because it regularly uses the mail and/or the telephone to collect, or attempt to

collect, delinquent consumer accounts.

   24. Defendant is engaged in the business of collecting or attempting to collect,

directly or indirectly, defaulted debts owed or due or asserted to be owed or due to

others.


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   25. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out

of a transaction due or asserted to be owed or due to another for personal, family, or

household purposes.

      a.     Violations of the FDCPA §1692c(a)(1) and §1692d

   26. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from

engaging “in any conduct the natural consequence of which is to harass, oppress, or

abuse any person in connection with the collection of a debt.”

   27. Furthermore, §1692d(5) prohibits, “causing a telephone to ring or engaging

any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

   28. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called

Plaintiff after being notified to stop.    This behavior of systematically calling

Plaintiff’s phone on a systematic basis in spite of his demands was harassing and

abusive. The frequency and volume of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing him.

   29. Defendant was notified by Plaintiff that its calls were not welcomed. As

such, Defendant knew that its conduct was inconvenient and harassing to Plaintiff.

      b. Violations of the FDCPA § 1692e




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   30. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from

using “any false, deceptive, or misleading representation or means in connection

with the collection of any debt.”

   31. In addition, this section enumerates specific violations, such as:

         “The use of any false representation or deceptive means to
         collect or attempt to collect any debt or to obtain information
         concerning a consumer.” 15 U.S.C. §1692e(10).

   32. Defendant violated §1692e and e(10) when it used deceptive means to collect

and/or attempt to collect the subject debt. Defendant left repeated pre-recorded

voicemail messages on Plaintiff’s cellular phone despite lacking any consent to do

so. Further, Plaintiff explicitly demanded that Defendant’s phone calls cease. Instead

of putting an end to this harassing behavior, Defendant placed repeated calls and left

unauthorized pre-recorded voicemail messages in a deceptive attempt to force him

to answer its calls or otherwise interact with Defendant so that Defendant could

secure his payment. Through its conduct, Defendant misleadingly represented to

Plaintiff that it had the legal ability to contact him via pre-recorded voicemail

messages after he demanded that it stop calling.

       c. Violations of FDCPA § 1692f

   33. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from

using “unfair or unconscionable means to collect or attempt to collect any debt.”




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   34. Defendant violated §1692f when it unfairly and unconscionably attempted to

collect on a debt by repeatedly calling Plaintiff after being notified to stop.

Attempting to coerce Plaintiff into payment by placing voluminous phone calls

without his permission is unfair and unconscionable behavior.        These means

employed by Defendant only served to worry and confuse Plaintiff.

   35. As pled in paragraphs 17 through 19, Plaintiff has been harmed and suffered

damages as a result of Defendant’s illegal actions.

   WHEREFORE, JOSEPH PATTON, respectfully requests that this Honorable

Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
      U.S.C. §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
      provided under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
      U.S.C. §1692k(a)(3);

   e. Enjoining Defendant from further contacting Plaintiff; and

   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.



       COUNT II – VIOLATIONS OF THE MICHIGAN OCCUPATIONAL CODE



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   36. Plaintiff restates and realleges paragraphs 1 through 35 as though fully set

forth herein.

   37. Plaintiff is a “consumer” or “debtor” as defined by M.C.L. § 339.901(f).

   38. Defendant is a “collection agency” as defined by M.C.L. § 339.901(b) as it is

a person that is directly engaged in collecting or attempting to collect a claim owed

or due or asserted to be owed or due another.

   39. The subject debt is a “[c]laim” or “debt” as defined by M.C.L. § 339.901(a)

as it is an obligation or alleged obligation for the payment of money or thing of value

arising out of an agreement or contract for a purchase made primarily for personal,

family, or household purposes.

          a. Violations of M.C.L. § 339.915(f)(ii)

   40. The MOC, pursuant to M.C.L. § 339.915(f)(ii) prohibits a collection agency

from “[m]isrepresenting in a communication with a debtor . . . [t]he legal rights of

the creditor or debtor.”

   41. Defendant violated M.C.L. § 339.915(f)(ii) by repeatedly contacting

Plaintiff’s cellular phone via pre-recorded messages absent consent. Through its

conduct, Defendant misrepresented that it had the legal ability to contact Plaintiff

despite lacking consent to do so. Any hypothetical lawful ability of Defendant to

place the calls and voicemails at issue was explicitly extinguished after Plaintiff

demanded that such contacts cease. As such, Defendant misrepresented its legal


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rights in placing the phone calls, as well as Plaintiff’s legal rights to have such phone

calls cease, by attempting to contact Plaintiff’s cellular phone absent the lawful

ability to do so.

          b. Violations of M.C.L. § 339.915(n)

   42. The MOC, pursuant to M.C.L. § 339.915(n), prohibits a collection agency

from “[u]sing a harassing, oppressive, or abusive method to collect a debt, including

causing a telephone to ring or engaging a person in telephone conversation

repeatedly, continuously, or at unusual times or places which are known to be

inconvenient to the debtor.”

   43. Defendant violated the MOC when it repeatedly called Plaintiff after being

notified to stop. Defendant called Plaintiff numerous times after he demanded that it

stop. This repeated behavior of systematically calling Plaintiff’s phone in defiance

of the information provided by Plaintiff was harassing and abusive. Such contacts

were made with the hope that Plaintiff would succumb to the harassing behavior and

ultimately make a payment. The nature and volume of phone calls and voicemail

messages, especially after Plaintiff demanded that the contacts stop, would naturally

cause an individual to feel oppressed.

          c. Violations of M.C.L. § 339.915(q)




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   44. The MOC, pursuant to M.C.L. § 339.915(q), subjects collection agencies to

liability for “[f]ailing to implement a procedure designed to prevent a violation by

an employee.”

   45. Defendant violated the MOC by failing to adequately have procedures in place

designed to prevent a violation by its employee(s). Upon information and belief,

Defendant lacks any procedures designed to insure that, once a consumer requests

that Defendant ceases contacting that person, Defendant actually ceases calling that

consumer.

   46. Defendant’s violations of the MOC were willful. Plaintiff notified Defendant

that he did not want to receive any further calls or messages from Defendant. Yet,

Plaintiff was still bombarded with collection phone calls and messages from

Defendant. In a willful manner, Defendant called Plaintiff repeatedly and left

numerous voicemail messages notwithstanding his demands. Upon information and

belief, Defendant regularly engages in the above described behavior against

consumers in Michigan, further demonstrating its willful failure to implement

adequate procedures designed to prevent violations of the MOC.

   WHEREFORE, Plaintiff, JOSEPH PATTON, respectfully requests that this

Honorable Court enter judgment in his favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief, pursuant to M.C.L. § 339.916(1);
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   c. Awarding Plaintiff actual damages, including treble damages, pursuant to
      M.C.L. § 339.916(2);

   d. Awarding statutory damages of at least $50.00, including treble damages,
      pursuant to M.C.L. § 339.916(2);

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to M.C.L. §
      339.916(2);

   f. Enjoining Defendant from further contacting Plaintiff; and

   g. Awarding any other relief as this Honorable Court deems just and
      appropriate.

Dated: July 21, 2020                              Respectfully submitted,

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